                                                                                       Case 1:18-bk-10098-MB            Doc 810 Filed 03/12/19 Entered 03/12/19 14:41:25                 Desc
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                                                                                                                                                               CLERK U.S. BANKRUPTCY COURT
                                                                                            Attorneys for David K. Gottlieb, Chapter 11 Trustee                Central District of California
                                                                                      6                                                                        BY Pgarcia DEPUTY CLERK


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                                                                                      8                                 UNITED STATES BANKRUPTCY COURT

                                                                                      9                                  CENTRAL DISTRICT OF CALIFORNIA

                                                                                      10                                  SAN FERNANDO VALLEY DIVISION

                                                                                      11    In re:                                                    Case No.: 1:18-bk-10098-MB
P AC H UL S K I S T ANG Z IE HL & J ON ES LLP




                                                                                      12                                                              Chapter 11
                                                                                            PENTHOUSE GLOBAL MEDIA, INC.,
                                                L O S A NG EL ES , C AL IF OR N I A




                                                                                      13                                                              Jointly Administered with Cases Nos.:
                                                     A T T OR N EY S A T L AW




                                                                                                                            Debtor.                   1:18-bk-10099-MB; 1:18-bk-10101-MB;
                                                                                      14                                                              1:18-bk-10102-MB; 1:18-bk-10103-MB;
                                                                                                Affects All Debtors                                   1:18-bk-10104-MB; 1:18-bk-10105-MB;
                                                                                      15        Affects Penthouse Global Broadcasting, Inc.           1:18-bk-10106-MB; 1:18-bk-10107-MB;
                                                                                                Affects Penthouse Global Licensing, Inc.              1:18-bk-10108-MB; 1:18-bk-10109-MB;
                                                                                      16        Affects Penthouse Global Digital, Inc.                1:18-bk-10110-MB; 1:18-bk-10111-MB;
                                                                                                Affects Penthouse Global Publishing, Inc.             1:18-bk-10112-MB; 1:18-bk-10113-MB
                                                                                      17        Affects GMI Online Ventures, Ltd.
                                                                                                Affects Penthouse Digital Media Productions, Inc.     ORDER CONVERTING CASE TO
                                                                                      18        Affects Tan Door Media, Inc.                          CHAPTER 7
                                                                                                Affects Penthouse Images Acquisitions, Ltd.
                                                                                      19                                                              Hearing:
                                                                                                Affects Pure Entertainment Telecommunications, Inc.
                                                                                                Affects XVHUB Group, Inc.
                                                                                                                                                      Date:          February 26, 2019
                                                                                      20                                                              Time:          1:30 p.m.
                                                                                                Affects General Media Communications, Inc.
                                                                                                                                                      Courtroom:     303
                                                                                      21        Affects General Media Entertainment, Inc.             Place:         21041 Burbank Blvd.
                                                                                                Affects Danni Ashe, Inc.                                             Woodland Hills, CA
                                                                                      22        Affects Streamray Studios, Inc.                       Judge:         Hon. Martin R. Barash
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                                                                                      1            This matter came before the Court upon the Notice of Motion and Motion of David K.

                                                                                      2    Gottlieb, Chapter 11 Trustee, For Order Converting Cases to Chapter 7 [Docket No. 790] (the

                                                                                      3    “Motion”) filed by David K. Gottlieb, the duly appointed chapter 11 trustee (the “Trustee”) for the

                                                                                      4    estate of Penthouse Global Media, Inc. and its debtor subsidiaries (collectively, the “Debtors”).

                                                                                      5            The Court, having considered the Motion and the Declaration of David K. Gottlieb in support

                                                                                      6    thereof, and having found that due and proper notice of the Motion has been given, and no

                                                                                      7    opposition to the Motion having been filed, the Court waived appearances at the hearing, and having

                                                                                      8    found that under 11 U.S.C. § 1112(b)(4)(A) cause exists to grant the Motion,

                                                                                      9            IT IS HEREBY ORDERED that:

                                                                                      10           1. The Motion is granted.

                                                                                      11           2. The Debtors’ chapter 11 cases are converted to cases under chapter 7 of the Bankruptcy
P AC H UL S K I S T ANG Z IE HL & J ON ES LLP




                                                                                      12                Code.
                                                L O S A NG EL ES , C AL IF OR N I A




                                                                                      13           3. Within 30 days of the date of this order, the Trustee shall file and transmit to the United
                                                     A T T OR N EY S A T L AW




                                                                                      14                States trustee a final report and account.

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                                                                                             Date: March 12, 2019
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